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 10
                               UNITED STATES DISTRICT COURT
 11
                               CENTRAL DISTRICT OF CALIFORNIA
 12
 13    BRENT SCARPO. on behalf of himself and         Case No. 5:21-cv-01979
       all others similarly situated,
 14                                                   CLASS ACTION
                               Plaintiff,
 15                                                   PLAINTIFF’S CLASS ACTION
               v.                                     COMPLAINT FOR:
 16
       NATROL, LLC,                                   1. VIOLATION OF THE UNFAIR
 17                                                      COMPETITION LAW, Business
                               Defendant.                and Professions Code § 17200, et seq.;
 18                                                   2. VIOLATION OF THE
                                                         CONSUMER LEGAL REMEDIES
 19                                                      ACT, Civil Code § 1750, et seq.; and
                                                      3. BREACH OF EXPRESS
 20                                                      WARRANTY
 21                                                   DEMAND FOR JURY TRIAL
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                                    PLAINTIFF’S CLASS ACTION COMPLAINT
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   1        Plaintiff Brent Scarpo brings this action on behalf of himself and all others
   2 similarly situated against Defendant Natrol, LLC (“Natrol”) and states as follows:
   3                                NATURE OF ACTION
   4        1.     In all of its marketing materials, Natrol claims that its “Natrol Cognium®
   5 Memory” (“Cognium Memory”) and “Natrol Cognium® Memory Extra Strength”
   6 (“Cognium Memory Extra Strength”) (collectively the “Cognium Products”) provide
   7 improved memory and recall. To make matters worse, to deceptively imply scientific
   8 significance and credibility, the Cognium Products’ packaging also states that the
   9 Cognium Products contain the “#1 most clinically studied ingredient for memory.”
 10         2.     Based on Natrol’s representations, Plaintiff Scarpo and similarly situated
 11 California consumers like him purchased Cognium Products to improve their memory.
 12 Indeed, these efficacy claims are the only reason a consumer would purchase the
 13 Cognium Products.
 14         3.     Natrol’s advertising claims, however, are provably false, misleading, and
 15 reasonably likely to deceive the public because reliable scientific evidence, including
 16 expert opinion and scientific studies, shows that the so-called active ingredient in the
 17 Cognium Products, silk protein hydrolysate, is no more effective than a placebo at
 18 improving memory.
 19         4.     The fundamental reason that the Cognium Products are not capable of
 20 having any effect beyond that of a placebo is that it is scientifically impossible for silk
 21 protein hydrolysate to provide the brain health and memory benefits that Natrol
 22 promises. Contrary to Natrol’s uniform advertising claims, experts confirm that silk
 23 protein hydrolysate is digested in the human gastrointestinal track, the same way any
 24 other protein is ingested. Because the Cognium Products are digested they cannot have
 25 the effect on brain function claimed beyond that of a placebo pill—in fact, a sugar pill
 26 likely has more protein than the Cognium Product, which have less protein than a slice
 27 of bread.
 28         5.     Accordingly, Plaintiff brings this action for violation of California

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   1 consumer protection laws and for breach of express warranty on behalf of himself and
   2 similarly situated persons to obtain a full refund for himself and for all other similarly
   3 situated purchasers in California for the worthless product they purchased at $20 a
   4 bottle, as well as for injunctive relief.
   5                             JURISDICTION AND VENUE
   6         6.     This Court has original jurisdiction pursuant to 28 U.S.C. § 1332(d)(2).
   7 The matter in controversy, exclusive of interest and costs, exceeds the sum or value of
   8 $5,000,000, and is a class action in which there are in excess of 100 class members and
   9 many members of the Class are citizens of a state different from Defendant.
 10          7.     This Court has personal jurisdiction over Defendant, because Defendant
 11 is authorized to conduct and do business in California. Defendant has marketed,
 12 promoted, distributed, and sold the Cognium Products in California, and Defendant
 13 has sufficient minimum contacts with this State and/or has sufficiently availed itself of
 14 the markets in this State through its promotion, sales, distribution, and marketing within
 15 this State to render the exercise of jurisdiction by this Court permissible.
 16          8.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(a) and (b)
 17 because a substantial part of the events or omissions giving rise to Plaintiff’s claims
 18 occurred while she resided in this judicial district. Venue is also proper under 18 U.S.C.
 19 1965(a), because Defendant transacts substantial business in this District.
 20                                              PARTIES
 21          9.     Plaintiff Brent Scarpo resides in Palm Springs, California. In early 2020,
 22 Plaintiff was exposed to and saw Natrol’s misrepresentations regarding the brain
 23 function and memory benefits of Cognium by reading the Cognium Product label in a
 24 Wal-Mart store in Palm Springs, California. In reliance on the claims listed on the
 25 Product label, such as that the Product would improve memory and recall, in or around
 26 February 2020, Mr. Scarpo purchased Cognium. He paid approximately $20.00 for a 60
 27 count 100 mg tablet bottle of Cognium because he believed the Product would provide
 28 the advertised brain health and memory benefits. Thus, as a result of his purchase, Mr.

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   1 Scarpo suffered injury in fact and lost money. Had Plaintiff known the truth about
   2 Natrol’s misrepresentations and omissions, he would not have purchased Cognium.
   3 Plaintiff is not claiming physical harm or seeking the recovery of personal injury
   4 damages. If Natrol were to correct its misrepresentations and omissions, then Mr.
   5 Scarpo might consider purchasing Cognium in the future.
   6        10.    Defendant Natrol, LLC is a limited liability company organized and
   7 existing under the laws of the state of Delaware. Natrol is owned by Nyx Holdco, Inc.,
   8 which is a Delaware corporation.
   9        11.    Natrol manufactures, advertises, markets, and distributes the Cognium
 10 Products to thousands of consumers across the country and in the State of California.
 11                                FACTUAL ALLEGATIONS
 12 I.      Natrol’s Advertising and Sale of the Cognium Products
 13         12.    Since 2017, Natrol has distributed, marketed, and sold Cognium on a
 14 nationwide basis, including in California.
 15         13.    The Cognium Products are sold at a variety of grocery chains, retail stores,
 16 online stores, pharmacies, and low-cost retailers, including Wal-Mart.
 17         14.    Natrol sells two Cognium Products: (1) Cognium Memory, which bottles
 18 contain 60 tablets of 100 mg Cognium, and (2) Cognium Memory Extra Strength, which
 19 bottles contain 60 tablets of 200 mg Cognium.
 20         15.    “Cognium” refers to silk protein hydrolysate. In that regard, as stated on
 21 the Cognium Products’ packaging, “Cognium Memory is powered by natural protein
 22 from silkworm cocoons.”
 23         16.    As detailed herein, competent scientific evidence demonstrates that the
 24 silk protein hydrolysate in the Products is not capable of producing the improved
 25 memory and recall that Natrol promises purchasers. Natrol’s advertising claims are
 26 provably false and misleading as a result.
 27         17.    Natrol has reaped enormous profits from its false advertising and sale of
 28 the Cognium Products.

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   1       A. Natrol’s Uniform Advertising of the Cognium Products
   2         18.   Throughout its advertising of the Cognium Products, Natrol has
   3 consistently advertised that consuming the Cognium Products will improve memory,
   4 recall, and brain health.
   5         19.   Natrol has disseminated this message across a variety of media, including
   6 its website and online promotional materials, and most importantly, at the point of
   7 purchase on the front of the Cognium Products’ packaging and labeling where it cannot
   8 be missed by consumers.1
   9         20.   Throughout the relevant time period, Natrol has packaged the Cognium
 10 Products using substantially similar and deceptive packages and labels with the memory
 11 and brain health benefit advertising messaging at issue.
 12          21.   The front of the Cognium Products’ packaging and labeling states in large,
 13 bolded font that the Cognium Products are “Clinically Shown to Improve Memory and
 14 Recall.” In addition, the front of the Cognium Products’ packaging and labeling states
 15 in all capital letters, printed in large font that the Cognium Products are for “BRAIN
 16 HEALTH.” What’s more, the word “MEMORY” appears immediately below the word
 17 “Cognium” in large, bolded font on the front of the package. And the bottom left
 18 corner of the front label states in all capital letters, that Cognium is the “#1 Most
 19 Clinically Studied Ingredient for Memory.” The word “memory is set in a typeface much
 20 larger than the rest of the message, except for the number 1, which is also larger than
 21 the rest of the message.
 22          22.   The front panels for the labels for each package of Cognium Memory and
 23 Cognium Memory Extra Strength appear substantially as follows:
 24
 25
 26
     Indeed, even in online promotional materials, such materials show the front label of
       1

 27 the product. For instance, the Natrol website prominently displays the product label
 28 when advertising Cognium. See https://www.natrol.com/store/natrol-cognium-
    memory-brain-health-tablets.
                                 PLAINTIFF’S CLASS ACTION COMPLAINT
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              23.    Throughout the other packaging panels of the Cognium Products’ packing
 11
       panels, Natrol repeats and reinforces the false and deceptive brain health and memory
 12
       improvement claim.
 13
              24.    For instance, the side-panel packaging reinforced the false and deceptive
 14
       brain health and memory claims, including that that “Cognium Memory keeps your
 15
       mind sharp and your memory strong.” Directly below that, the packaging states that
 16
       “Cognium Memory is powered by a natural protein from silkworm cocoons. It has been
 17
       shown to be effective in healthy adults in multiple clinical trials.”
 18
              25.    In addition, the side-panel packaging also claims that using Cognium
 19
       results in “Improved Memory and Performance.” This panel includes a bar chart that
 20
       purports to show the results of a “Published study,” whereby users of Cognium
 21
       Memory experienced increases in “Memory Recall Efficiency,” in just 21 days.
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   1          26.    Furthermore, the side-panel packaging promises “Results in 4 weeks” in
   2 bold all caps font, making the claim that “[c]linical studies showed statistically significant
   3 improvement in memory and recall in 4 weeks or less when taken as directed by healthy
   4 adults.”
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              27.    Natrol’s marketing representations in other media repeat and reinforce the
 19
       false and misleading brain health benefit claims made on the packaging and labeling for
 20
       the Cognium Products. For example, on their website, www.natrol.com/store/natrol-
 21
       cognium-brain-health-tablets, Natrol claims that “Natrol Cognium keeps your mind
 22
       sharp and your memory strong.”2 Natrol also claims that “multiple clinical studies have
 23
       shown statistically significant improvements in memory and recall in healthy adults, in
 24
       as little as four weeks.”
 25
 26
 27
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       2
         See also https://www.natrol.com/store/natrol-cognium-extra-strength-brain-health-
       tablets.
                                   PLAINTIFF’S CLASS ACTION COMPLAINT
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   1      B. Natrol’s Representations are Deceptive and Misleading as Clinical
             Evidence Refutes Natrol’s Representations
   2
              28.     Both Cognium Products have one active ingredient: silk protein
   3
       hydrolysate.
   4
              29.     Natrol’s memory and brain claims are provably false and misleading,
   5
       because, as Plaintiff’s expert, Richard Bazinet, Ph.D., will testify, when Cognium is
   6
       ingested, it is broken down in the digestive system by strong stomach acid. Plaintiff’s
   7
       expert will further opine that, even if some of the Cognium persists beyond the stomach
   8
       and is absorbed into the blood, the liver would further break it down and then the
   9
       blood-brain barrier, the natural gate-keeper of the brain, would keep out anything left
 10
       of the substance. Ultimately, Plaintiff’s expert concludes, Cognium cannot impact the
 11
       brain because it does not absorb into the blood stream or cross the blood-brain barrier.
 12
       Only if the active ingredient crossed the blood-brain barrier could it potentially cause
 13
       any improvement whatsoever to brain performance.
 14
              30.     Stated otherwise, as Plaintiff’s expert will explain, silk protein hydrolysate
 15
       is a protein. Like all proteins it is subjected to digestion in the human gastrointestinal
 16
       track. During this process, silk protein hydrolysate is broken down into its amino acid
 17
       constituent parts. Thus, by the time it reaches the bloodstream, it has become amino
 18
       acids. This is no different than any other protein, such as those found in ordinary foods,
 19
       like fish, turkey, or even bread.
 20
              31.     Notably, the amount of protein ingested when a consumer takes Cognium
 21
       is trivial to other foods. For instance, a slice of white bread contains 2.57 grams of
 22
       protein. A single dose of Cognium Memory contains 100 mg of protein. Thus, a single
 23
       slice of bread contains over 25 times the amount of protein as does a dose of Cognium
 24
       Memory.
 25
              32.     Moreover, as Plaintiff’s expert will testify, even if silk protein hydrolysate
 26
       was not fully digested and were to somehow enter the bloodstream, it would not be
 27
       able to pass the blood-brain barrier. Most importantly, the only molecules that are able
 28

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   1 to cross the blood brain barrier are those under .04-.06 kilodaltons. Silk protein
   2 hydrolysate does not have a molecular mass that small. Rather, like most proteins, silk
   3 protein hyrdolysate is much too large to cross the blood brain barrier. As a result, it has
   4 no effect on a user’s memory.
   5         33.    On its website, Natrol brandishes seven studies that claim to support its
   6 claim that Cognium is “clinically shown to improve memory and recall in healthy
   7 adults.” All of these studies suffer from serious deficiencies such that they do not
   8 support the claim that Cognium is “clinically shown to improve memory and recall in
   9 healthy adults.”
 10          34.    A 2004 study entitled “Association between Cerebral Blood Flow and
 11 Cognitive Improvement Effect by B. mori Extracted Component” makes the claim that
 12 administration of 400 mg of Cognium—4 times the amount in Cognium Memory—
 13 twice a day for three weeks, resulted in a 9-point increase in IQ among study
 14 participants. The study consisted of four individuals and did not make use of a control
 15 group.3 This falls well below anything that would be sufficient to show that an
 16 ingredient is “clinically proven” to do anything.
 17          35.    The other 6 studies are similarly flawed.
 18          36.    Five of the studies, while using sample sizes larger than four, still employ
 19 sample sizes that are too small to provide any scientific value—in some instances it is
 20 not even clear how many individuals actually consumed Cognium.
 21          37.    Another 2004 study, this one entitled “The Role of BF-7 on Enhancement
 22 of Memory and Cognitive Function” only reported results for 25 individuals who were
 23 “recruited among elderly people who visit a day care center in Seoul dementia [sic].”4
 24          38.    A third 2004 study is likewise unreliable, because it is inconsistent in
 25
       3
           The       study       is        available on    Natrol’s   website:
 26 https://www.natrol.com/images/tips/pdf/i_BF7-Mental-Human-po-Lee-
    KorJSericSci-2004-translated-hilite.pdf.
 27 4
           The       study       is        available on    Natrol’s   website:
 28 https://www.natrol.com/images/tips/pdf/c_BF7-Memory-Human-po-Kim-
    KorJAnat-2004-translated-hilite.pdf
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    1 identifying even the number of subjects tested. In the abstract and first page of the
    2 article “The Role of BF-7 on Neuroprotection and Enhancement of Cognitive
    3 Function,” the study claims that 50 high school students went through the Rey Kim
    4 and K-WAIS test; however, page three then claims that only 40 high school students
    5 underwent these tests.5
    6         39.    Yet another study from 2004, “BF-7 Improved Memory Function and
    7 Protected Neuron from Oxidative Stress” uses 66 individuals, broken into three groups,
    8 though the study fails to identify the sizes of the respective groups.6
    9         40.    Two studies broke its participants into three groups (placebo, low dose,
   10 and high dose) with each group having between 32 and 34 persons—“The
   11 Improvement of Learning and Memory Ability of Persons by BF-7”7 and “The Effect
   12 of Bf-7 on the Ischemia-Induced Learning and Memory Deficits.”8 Due to this
   13 breakdown, while larger than the other studies, these numbers are still much too small
   14 to show any actual significance. Furthermore, one of the studies, “The Effect of BF-7
   15 on the Ischemia Inducted Learning and Memory Deficits,” fails to state how many
   16 doses of Cognium each individual was given.
   17         41.    Finally, “The Improvement of Short- and Long-term Memory of Young
   18 Children by BF-7” only contains an abstract of the article in English. The remainder of
   19 the article is written in Korean and has not been translated. But the study itself is only
   20
   21   5
          The study is available on Natrol’s website:
   22   https://www.natrol.com/images/tips/pdf/b_BF7-Memory-Human-po-Chae-
        KorJPhysiolPharm-2004-hilite.pdf.
   23   6
          The study is available on Natrol’s website:
   24   https://www.natrol.com/images/tips/pdf/e_BF7-Memory-Human-po-Lee-
        KorJPhysAnthropol-2004-translated-hilite.pdf.
   25   7
          The study is available on Natrol’s website:
   26   https://www.natrol.com/images/tips/pdf/d_BF7-Memory-Human-po-Lee-
        KorJPhyPharm-2004-hilite.pdf.
   27   8
          The study is available on Natrol’s website:
   28   https://www.natrol.com/images/tips/pdf/h_BF7-Mental-Human-po-Lee-KorJAnat-
        2005-translated-hilite.pdf.
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    1 limited to children, and the abstract fails to show the number of children in the study
    2 or the actual results of any tests. Rather, the abstract simply speaks in broad terms. For
    3 instance, the abstract claims “the ability of memory application and awareness of
    4 complex thing [sic] were also significantly improved.” Such a vague explanation fails to
    5 provide any evidence that the conclusion is valid.9
    6         42.    In short, none of the studies on Natrol’s website provide any scientific
    7 support for the claim that Cognium is “clinically shown to improve memory and recall
    8 in healthy adults.” Rather, they are simply an attempt to apply a deceiving scientific
    9 sheen onto a baseless advertising claim that competent scientific evidence refutes.
   10                    CLASS DEFINITION AND ALLEGATIONS
   11         43.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff
   12 brings this action for himself and all members of the following class of similarly situated
   13 individuals (the “Class”):
   14         All people who purchased Cognium Memory or Cognium Memory Extra
   15         Strength for personal or household purposes in California within the applicable
   16         statute of limitations through the date of class certification.
   17         44.    The following individuals are excluded from the Class: Natrol, Natrol’s
   18 officers, directors, and employees, and those who purchased Cognium Memory or
   19 Cognium Memory Extra Strength for the purpose of resale.
   20         A. Numerosity
   21         45.    Cognium Memory is sold throughout California such that the Class is so
   22 numerous that joinder of all members of the Class is impracticable.
   23         B. Common Questions of Law and Fact Predominate
   24         46.    This action involves common questions of law and fact, which
   25 predominate over any questions affecting individual Class members. These common
   26
   27  The study is available on Natrol’s website:
        9


   28 https://www.natrol.com/images/tips/pdf/k_The_Improvement_of_Short_and_Lon
      g-term_Memory_of_Y.pdf.
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    1 legal and factual questions include but are not limited to, the following:
    2                a.    Whether the claims discussed above are true, or are misleading, or
    3                objectively reasonably likely to deceive;
    4                b.    Whether Natrol’s alleged conduct violates public policy;
    5                c.    Whether the alleged conduct constitutes violations of the laws
    6                asserted;
    7                d.    Whether Natrol engaged in false or misleading advertising;
    8                e.    Whether Plaintiff and the Class members have sustained monetary
    9                loss and the proper measure of that loss; and
   10                f.    Whether Plaintiff and Class members are entitled to other
   11                appropriate remedies.
   12         C. Typicality
   13         47.    Plaintiff’s claims are typical of the claims of the members of the Class
   14 because, inter alia, all Class members were injured through the uniform misconduct
   15 described above and were subject to Natrol’s deceptive brain health and memory claims
   16 that accompanies each and every Cognium Product that Natrol sold. Plaintiff advances
   17 the same claims and legal theories on behalf of herself and all members of the Class.
   18         D. Adequacy
   19         48.    Plaintiff will fairly and adequately protect the interests of the members of
   20 the Class. Plaintiff has retained counsel experienced in complex consumer class action
   21 litigation, and Plaintiff intends to prosecute this action vigorously. Plaintiff has no
   22 adverse or antagonistic interests to those of the Class.
   23         E. Superiority
   24         49.    A class action is superior to all other available means for the fair and
   25 efficient adjudication of this controversy. The damages or other financial detriment
   26 suffered by individual Class members is relatively small compared to the burden and
   27 expense that would be entailed by individual litigation of their claims against Natrol. It
   28 would thus be virtually impossible for Plaintiff and Class members, on an individual

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    1 basis, to obtain effective redress for the wrongs done to them. Furthermore, even if
    2 Class members could afford such individualized litigation, the court system could not.
    3 Individualized litigation would create the danger of inconsistent or contradictory
    4 judgments arising from the same set of facts. Individualized litigation would also
    5 increase the delay and expense to all parties and the court system from the issues raised
    6 by this action. By contrast, the class action device provides the benefits of adjudication
    7 of these issues in a single proceeding, economies of scale, and comprehensive
    8 supervision by a single court, and presents no unusual management difficulties under
    9 the circumstances here.
   10         50.    The Class may also be certified because Natrol has acted or refused to act
   11 on grounds generally applicable to the Class.
   12         51.    Unless a Class is certified, Natrol will retain monies received as a result of
   13 its conduct that were taken from Plaintiff and Class members.
   14                                         COUNT I
   15                    Violation of the Consumer Legal Remedies Act
   16                                 Civil Code § 1750, et seq.
   17         52.    Plaintiff repeats and re-alleges the allegations contained in the paragraphs
   18 above, as if fully set forth herein.
   19         53.    This cause of action is brought pursuant to the Consumer Legal Remedies
   20 Act, California Civil Code § 1750 (the “Act”). Plaintiff is a “consumer” as defined by
   21 California Civil Code § 1761(d). Natrol’s Cognium Products are “goods” within the
   22 meaning of the Act.
   23         54.    Natrol violated and continues to violate the Act by engaging in the
   24 following practices proscribed by California Civil Code § 1770(a) in transactions with
   25 Plaintiff and the Class which were intended to result in, and did result in, the sale of the
   26 Cognium Products:
   27         (5)    Representing that [the Cognium Products have] … approval,
   28                characteristics, … [and] benefits … which [they do] not have …

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    1         (7)     Representing that [the Cognium Products are] of a particular standard,
    2                 quality or grade … if [they are] of another.
    3         (9)     Advertising goods … with intent not to sell them as advertised.
    4         (16)    Representing that [the Cognium Products have] been supplied in
    5                 accordance with a previous representation whey [they have] not.
    6         55.     Natrol violated the Act by representing and failing to disclose material
    7 facts on the Cognium Products’ labeling and packaging and associated advertising, as
    8 described above, when it knew, or should have known, that the representations were
    9 false and misleading and that the omissions were of material facts it was obligation to
   10 disclose.
   11         56.     Pursuant to § 1782(d) of the Act, Plaintiff and Class seek a court order
   12 enjoining the above-described wrongful acts.
   13         57.     Pursuant to § 1782 of the Act, Plaintiff sent notification, a true and correct
   14 copy of which is attached hereto as Exhibit A, to Natrol in writing by certified mail of
   15 the particular violations of § 1770 of the Act and demanded that Natrol rectify the
   16 problems associated with the actions detailed above and give notice to all affected
   17 consumers of Natrol’s intent to so act. Plaintiff will amend to add actual, punitive and
   18 statutory damages as appropriate if Natrol does not rectify the notified issues within 30
   19 days of the date of written notice pursuant to § 1782 of the Act.
   20         58.     Pursuant to § 1780(d) of the Act, attached hereto as Exhibit B is the
   21 affidavit showing that this action has been commenced in the proper forum.
   22                                          COUNT II
   23                Violation of Business & Professions Code § 17200, et seq.
   24         59.     Plaintiff repeats and re-alleges the allegations contained in the paragraphs
   25 above, as if fully set forth herein.
   26         60.     Business & Professions Code § 17200 prohibits any “unlawful, unfair or
   27 fraudulent business act or practice and unfair, deceptive, untrue, or misleading
   28 advertising.” For the reasons discussed above, Natrol has violated each of these

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    1 provisions of Business & Professions Code § 17200.
    2         61.   In the course of conducting business, Natrol committed “unlawful”
    3 business practices by violating the CLRA, and breaching express warranties.
    4         62.   Natrol’s actions also constitute “unfair” business acts or practices because,
    5 as alleged above, inter alia, Natrol engaged in false advertising, misrepresented, and
    6 omitted material facts regarding the Cognium Products, and thereby offended an
    7 established public policy, and engaged in immoral, unethical, oppressive, and
    8 unscrupulous activities that are substantially injurious to consumers.
    9         63.   For the reasons detailed above, Natrol’s actions are “fraudulent” because
   10 Natrol falsely and misleadingly claims that the Cognium Products improve memory and
   11 brain health and omits the true nature of the Products.
   12         64.   As stated in this complaint, Plaintiff alleges violations of consumer
   13 protection, unfair competition, and truth in advertising laws in California and other
   14 states, resulting in harm to consumers. Natrol’s acts and omissions also violate and
   15 offend the public policy against engaging in false and misleading advertising, unfair
   16 competition, and deceptive conduct toward consumers. This conduct constitutes
   17 violations of the unfair prong of Business & Professions Code § 17200, et seq.
   18         65.   There were reasonably available alternatives to further Natrol’s legitimate
   19 business interests other than the conduct described herein.
   20         66.   Business & Professions Code § 17200, et seq., also prohibits any
   21 “fraudulent business act or practice.”
   22         67.   Natrol’s actions, claims, nondisclosures, and misleading statements, as
   23 more fully set forth above, were also false, misleading, and/or likely to deceive the
   24 consuming public within the meaning of Business & Professions Code § 17200, et seq.
   25         68.   Natrol’s advertising, labeling, and packaging as described herein also
   26 constitutes unfair, deceptive, untrue, and misleading advertising.
   27         69.   Natrol’s conduct caused and continues to cause substantial injury to
   28 Plaintiff and the other Class members. Plaintiff has suffered injury in fact and has lost

                                 PLAINTIFF’S CLASS ACTION COMPLAINT
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    1 money as a result of Natrol’s unfair conduct.
    2         70.    As a result of its deception, Natrol has been able to reap unjust revenue
    3 and profit.
    4         71.    Plaintiff, on behalf of himself, and all others similarly situated, and the
    5 general public, seeks an injunction enjoining Natrol from continuing its misleading
    6 marketing campaign and restitution of all money obtained from Plaintiff and the
    7 members of the Class collected as a result of unfair competition, and all other relief this
    8 Court deems appropriate, consistent with Business & Professions Code § 17203.
    9                                        COUNT III
   10                               Breach of Express Warranty
   11         72.    Plaintiff repeats and re-alleges the allegations contained in the paragraphs
   12 above, as if fully set forth herein.
   13         73.    Plaintiff brings this claim individually and on behalf of the Class.
   14         74.    Section 2-313 of the Uniform Commercial Code provides that an
   15 affirmation of fact or promise, including a description of the goods, becomes part of
   16 the basis of the bargain and creates an express warranty that the goods shall conform
   17 to the promise and to the description.
   18         75.    At all times, California and other states have codified and adopted the
   19 provisions in the Uniform Commercial Code governing the express warranty of
   20 merchantability.
   21         a.     Plaintiff and each member of the Class formed a contact with Natrol at
   22 the time Plaintiff and the other Class members purchase the Cognium Products. The
   23 terms of the contract include the brain health and memory promises made by Natrol
   24 on the Cognium Products’ labels and packaging, as described above. These
   25 representations constitute express warranties, became part of the basis of the bargain,
   26 and are part of a standardized contract between Plaintiff and the members of the Class
   27 on the one hand, and Natrol on the other. Natrol made the following express warranties
   28 that it breached when it sold a dummy pill to consumers: “Clinically Shown to Improve

                                  PLAINTIFF’S CLASS ACTION COMPLAINT
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    1 Memory and Recall;” “Enhances mental agility by improving cognitive function;”
    2 “Improved memory and performance;” and “Results in 4 weeks.”
    3          76.    All conditions precedent to Natrol’s liability under this contract have been
    4 performed by Plaintiff and the Class.
    5          77.    Natrol has breached the terms of this contract, including the express
    6 warranties, with Plaintiff and the Class by not providing the Cognium Products that
    7 could provide the brain health and memory benefits as represented and described
    8 above.
    9          78.    As a result of Natrol’s breach of its warranty, Plaintiff and the Class have
   10 been damages in the amount of the purchase price of the Cognium Products they
   11 purchased.
   12                                  PRAYER FOR RELIEF
   13          Wherefore, Plaintiff prays for a judgment:
   14          A.     Certifying the Class as requested herein;
   15          B.     Enjoining Natrol’s misleading marketing campaign;
   16          C.     Awarding Plaintiff and the proposed Class members damages;
   17          D.     Awarding restitution and disgorgement of Natrol’s revenues to Plaintiff
   18                 and the proposed Class members;
   19          E.     Awarding attorneys’ fees and costs; and
   20          F.     Providing such further relief as may be just and proper.
   21                               DEMAND FOR JURY TRIAL
   22          Plaintiff hereby demands a trial by jury of all issues so triable.
   23
   24 Date: November 22, 2021                     By: /s/ Annick M. Persinger
   25                                                 Annick M. Persinger (CA Bar No. 272996)
                                                      apersinger@tzlegal.com
   26                                                 TYCKO & ZAVAREEI LLP
                                                      10880 Wilshire Boulevard, Suite 1101
   27                                                 Los Angeles, California 90024
                                                      Telephone: (510) 254-6808
   28                                                 Facsimile: (202) 973-0950

                                   PLAINTIFF’S CLASS ACTION COMPLAINT
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                             PLAINTIFF’S CLASS ACTION COMPLAINT
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                              EXHIBIT A
                                                 STNNCNEEINe
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                                                         TRIAL    LAWYERS



 PETER H. WEINBERGER, oF counseL                                                                          CRAIG SPANGENBERG
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 PETER   J. BRODHEAD,          oF counseL
DENNIS R.         LANSDOWNE                                                                                NORMAN   W SHIBLEY
STUART E.          SCOTT                                                                                             (1921-1992)
NICHOLAS          A. DICELLO
JEREMY A.          TOR, LICENSEDIN NY, OH                                                                        JOHN D LIBER
DUSTIN B.         HERMAN                                                                                            (1938-2013)
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KEVIN C. HULICK
EMILY DAVIS




November                 19, 2021



VIA CERTIFIED MAIL


Andrew Houlberg
President and CEO
Natrol LLC
21411 Praire Street
Chatsworth, CA 91311

Re:          Cognium®

Dear Mr. Houlberg:

We represent Brent Scarpo (“Plaintiff’) who intends to file a class action lawsuit on behalf of himself
and all other similarly situated consumers in California against Natrol LLC (“You”) arising out of
misrepresentations by You to consumers that Your Cognium Products! improve memory, recall, and
brain health. Plaintiff intends to bring claims for breach of express warranty, and for violations of
California consumer protection law including Cal. Civ. Code Sec. 1750. The class action lawsuit has
not yet been filed. This letter is sent in a good faith attempt to resolve this matter before filing.

The Cognium cognitive benefits message has been made and repeated across a variety of media
including on Defendant's website and online promotional materials, at the point of purchase, and on
the front of Cognium Products’ packaging and labeling. For example, the front of the Cognium
Products’ packaging and labeling states that Cognium is “Clinically Shown to Improve Memory &
Recall.”

Plaintiff and other similarly situated consumers purchased Cognium Products unaware of the fact that
Defendant's representations were deceptive and not truthful, including because they are provably false
and misleading. Scientific evidence shows that the Cognium Products are digested like any protein,
do not pass the blood brain barrier, and that, as a result, the Cognium Products are no more effective


' The Cognium Products include Cognium Memory and Cognium Memory Extra Strength.


                                                 SPANGENBERG SHIBLEY & LIBER LLP
      1001   Lakeside Avenue East, Suite 1700     Cleveland, OH 44114 P: 216.696.3232   F: 216.696.3924   spanglaw.com
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                                                                              OVER   SIXTY-FIVE YEARS   OF TRIAL PRACTICE
 Andrew Houlberg
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 than a placebo sugar pill. In that regard, the body processes the so-called active ingredient in the
 Products, silk protein hydrolysate, like any other protein: breaking it down into amino acids. When
 Cognium enters the bloodstream, it does so as amino acids. Cognium does not and cannot breach the
blood-brain barrier, as its molecular makeup is too dense. Furthermore, even if Cognium were able to
breach the blood-brain barrier, any effect is infinitesimal, as the amount of protein in a single dose is
miniscule relative to the amount of protein humans eat on a daily basis. For instance, a single dose of
Cognium Memory contains 100 mg of protein. A single slice of bread, by comparison, contains 2.57
grams of protein, more than 25 times the amount of protein than in Cognium Memory. For these
reasons, your claims about the Cognium Products are false and misleading and violate the Consumers
Legal Remedies Act, California Civil Code § 1750 et seq. Specifically, Your practices violate California
Civil Code § 1770(a) under the following subdivisions:

            (5) Representing that goods or services have ... approval, characteristics,       ... uses [or]
        benefits ... which they do not have ...

        (7) Representing that goods or services are of a particular standard, quality or grade ...
        if they are of another.
                                                      *   *   %


        (9) Advertising that goods or services with intent not to sell them as advertised.

        (16) Representing that the subject of a transaction has been supplied in accordance with
        a previous representation when it has not.

Your practices also breach the following express warranties you made to consumers: “Clinically Shown
to Improve Memory and Recall,” “Enhances mental agility by improving cognitive function,” “Improved
memory and performance,” and “Results in 4 weeks.”

We hereby demand on behalf of our client and all others similarly situated that Defendant immediately
correct and rectify these violations by either ceasing the sale of its products, or by discontinuing your
misleading marketing campaign, ceasing dissemination of false and misleading information, and
initiating a corrective advertising campaign to re-educate customers regarding the truth of the products
at issue.

Given the stark representations made and the strong science contradicting them, we believe it is in
everyone's best interests to discuss the possibility of resolving the matter before suit is filed. Please
contact us to discuss. If we do not hear from you within thirty days, we will amend the Complaint filed
in the Central District of California to include a claim for damages, including punitive damages, and for
fees under the Consumers Legal Remedies Act on behalf of Plaintiff and the Class.




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                                                                OVER SIXTY-FIVE YEARS OF TRIAL PRACTICE
 Andrew Houlberg
 June 18, 2021
 Page 3 of 3



 We look forward to your response.

 Sincerely,


flrs Hs:
Kevin C. Hulick
khulick@spanglaw.com

KCH:pmf

CC:




                            SPANGENBERG     SHIBLEY & LIBER
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                              EXHIBIT B
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   1                                   VENUE AFFIDAVIT
   2         I, Brent Scarpo, being duly sworn state and aver the following is true and correct
   3 based upon my personal knowledge:
   4         1.     I am the Plaintiff in this action.
   5         2.     I am a competent adult, over eighteen years of age, and at all times material
   6 to this action, I have been a citizen of the United States, residing in California. I make
   7 this affidavit pursuant to California Code Section 1780(d).
   8         3.     The Complaint in this action is filed in a proper place for trial of this
   9 action, because one or more of the transactions that form the basis of the action
  10 occurred in this county.
  11 FURTHER AFFIANT SAYETH NAUGHT.
  12
  13
                                                     Brent Scarpo
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                                           VENUE AFFIDAVIT
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                                   Brent Scarpo




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